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Reminder of Legal Obligations Undertaken in Exchange for Receiving Federal Financial
Assistance and Request for Certiﬁcation under Title VI and SFFA v. Harvard

           Mandatory Supplement Questionnaire
Upon investigation, have there been instances of noncompliance identiﬁed within your
LEA?

☐   Yes

☐   No

If the answer to the question above is yes, please describe each issue of noncompliance
found within your LEA.




For each area of noncompliance identiﬁed above, detail your remediation plans including
intended date of remediation completion.
